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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF MICHIGAN

                                          :
Thomas Smith,                             :
                                            Civil Action No.: 2:18-cv-12156-TGB-
                                          :
                                            DRG
                                          :
                    Plaintiff,            :
      v.                                  :
                                          :
Ally Financial, Inc.,                     :
                                          :
                    Defendant.            :
                                          :


                           NOTICE OF SETTLEMENT

      NOTICE IS HEREBY GIVEN that the parties in the above-captioned case

have reached a settlement. The Plaintiff anticipates filing voluntary dismissal of

this action with prejudice pursuant to FED. R. CIV. P. 41(a) within 60 days.


Dated: May 28, 2019

                                             Respectfully submitted,

                                             By _/s/ Sergei Lemberg_______

                                             Sergei Lemberg, Esq.
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                         CERTIFICATE OF SERVICE

      I hereby certify that on May 28, 2019, a true and correct copy of the
foregoing Notice of Settlement was served electronically by the U.S. District Court
Eastern District of Michigan Electronic Document Filing System (ECF) and that
the document is available on the ECF system.


                                      By /s/ Sergei Lemberg
                                            Sergei Lemberg, Esq.
